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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

United States of America

     v.                                     2:08-cr-81-3

Edmond W. Plunk

                                    ORDER
     On   October   24,   2008,    the   defendant     appeared    before    the
magistrate judge, and consented to enter a guilty plea before the
magistrate judge.     The defendant pleaded guilty to Count 1 of the
indictment. On that same date, the magistrate judge filed a Report
and Recommendation recommending that the defendant’s plea of guilty
be accepted.    There being no objections, the court hereby adopts
the Report and Recommendation of the magistrate judge (Docket No.
460) that the defendant’s plea be accepted.           The court accepts the
defendant’s plea of guilty to Count 1 of the indictment, and he is
hereby adjudged guilty on that count.                The court will defer
acceptance of the plea agreement until after the court has had the
opportunity to review the final presentence investigation report.


Date: November 10, 2008                 s\James L. Graham
                                  James L. Graham
                                  United States District Judge
